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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                    AT LEXINGTON

                                                                    FILED ELECTRONICALLY

VANESSA HUMPHREY,                                    )
                                                     )
               PLAINTIFF                             )
                                                     )
v.                                                   )   CASE NO. ________________
                                                     )
LIFE INSURANCE                                       )
COMPANY OF NORTH AMERICA,                            )
                                                     )
               DEFENDANT                             )

                          DEFENDANT’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant, Life Insurance Company of

North America (“LINA”), by counsel, hereby files this Notice of Removal to the United States

District Court for the Eastern District of Kentucky, at Lexington, and states as follows:

        1.     On or about December 28, 2017 the Complaint in Case No. 17-CI-00823 was

filed in Scott Circuit Court by Plaintiff against LINA. The Summons, along with the Complaint,

were served on LINA by certified mail and received on or about January 17, 2018. A copy of

the Summons and Complaint is attached hereto as Exhibit A and constitutes all process,

pleadings and orders served upon LINA to date in this action.

        2.     This Notice of Removal is filed within thirty (30) days after receipt by LINA of a

copy of the Complaint and Summons in this action and Plaintiff is estopped from seeking

remand of this matter on this basis.

        3.     This action is of a civil nature arising from Plaintiff’s claim for an alleged breach

of contract and involving a claim for benefits pursuant to an employee welfare benefit plan,

specifically a long-term disability plan established by Plaintiff’s employer and funded by a long-
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term disability insurance policy issued by LINA. Plaintiff also seeks a judgment declaring that

she is entitled to future long-term disability benefits and interest, and she seeks an award of

attorney’s fees.

                          FEDERAL QUESTION JURISDICTION

          4.   This is an action over which this Court has original federal question jurisdiction

under 28 U.S.C. § 1331 and 29 U.S.C. §§ 1132 and 1144, inasmuch as the Complaint claims

long-term disability benefits provided by an employee welfare benefit plan, established or

maintained by Plaintiff’s employer and regulated by the Employee Retirement Income Security

Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1001, et seq. In the Complaint, Plaintiff

explicitly seeks benefits provided under group insurance policy FLK-0980011, which insures

long term disability benefits under an employee benefit plan established and maintained by her

employer, Toyota Motor Manufacturing, Kentucky, Inc. (Cmplt., ¶4).


          5.   The employee benefit plan established and maintained by Toyota Motor

Manufacturing, Kentucky, Inc., and any claim for benefits thereunder, are subject to ERISA. See,

e.g., Johnson v. Life Ins. Co. of N. Am., 2017 WL 412632 (E.D. Ky. Jan. 30, 2017)(slip op.);

Hatfield v. Life Ins. Co. of N. Am., 2015 WL 5680347 (E.D. Ky. 2015).


          6.   There can be no dispute that this action is governed by ERISA and that this Court,

therefore, has original federal subject matter jurisdiction over it. In her Complaint, Plaintiff

alleges that “[t]he LTD insurance is an employee benefit governed by the Employee Retirement

Income Security Act, 29 U.S. C. § 1001 et seq.,” (Cmplt., ¶ 34), and she avers a single claim

which she expressly bases on ERISA’s remedy provision, 29 U.S.C. § 1132(a)(1(B). (Cmplt., ¶¶

38-42).




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       7.      While Plaintiff alleges no state law claims in her Complaint, if she were to

attempt to amend and aver such claims ERISA would preempt any state law claims and causes of

action as it provides exclusive federal remedies for resolution of claims relating to plan benefits

by plan participants and beneficiaries, 29 U.S.C. §§ 1132 and 1144. Similarly, because this case

is subject to ERISA Plaintiff’s demand for trial by jury is nullified by controlling federal law.

       8.      For the foregoing reasons, Plaintiff’s action is removable to this Court pursuant to

29 U.S.C. § 1441 as an action founded upon a claim or right arising out of the laws of the United

States. An action relating to benefits provided by an ERISA plan is properly removable, even if

the defense of ERISA preemption does not appear on the face of the Complaint.                       See

Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 62-63, 107 S. Ct. 1542 (1987).

       WHEREFORE, Defendant, Life Insurance Company of North America, hereby gives

notice of this removal from the Scott Circuit Court to the United States District Court for the

Eastern District of Kentucky, at Lexington.

                                                      Respectfully submitted,

                                                      /s/David A. Calhoun
                                                      Mitzi D. Wyrick
                                                      David A. Calhoun
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                                                      Company of North America




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                               CERTIFICATE OF SERVICE

                 The undersigned hereby certifies on this 6th day of February, 2018 the foregoing
Notice of Removal was filed with the clerk using the Court’s CM/ECF System. The undersigned
further certifies a copy of same was served this 6th day of February, 2018 upon:

 Philip G. Fairbanks                                 Jason Thompson
 Mehr, Fairbanks & Peterson Trial Lawyers, PLLC      Rosenbaum & Thompson, PLLC
 201 West Vine Street, Suite 800                     201 West Vine Street, Suite 300
 Lexington, KY 40507                                 Lexington, KY 40507

                                                    /s/David A. Calhoun
                                                    One of Counsel for Defendant, Life
                                                    Insurance Company of North America
61705151.1




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